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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                               )
                                                     )    Chapter 11
TRIBUNE COMPANY, et al.,                             )
                                                     )    Case No. 08-13141 (KJC)
                     Debtors.                        )
                                                     )    Jointly Administered
                                                     )
                                                     )    Dkt. Nos. 8817, 8884, 8960, 8963
                                                          and _________

                   ORDER GRANTING SAMUEL ZELL’S MOTION FOR
                     LEAVE TO FILE A TWO-PAGE LETTER BRIEF

         Upon consideration of Samuel Zell’s Motion for Leave to File a Two-Page Letter Brief

(the “Motion”); and sufficient cause appearing therefore:

         IT IS HEREBY ORDERED THAT:

         1.     The Motion is GRANTED.

         2.     Mr. Zell is hereby granted leave to file his two-page letter brief in connection with

the plan confirmation proceedings in these cases.



Dated: _________ __, 2011              _________________________________________
                                       HONORABLE KEVIN J. CAREY
                                       CHIEF UNITED STATES BANKRUPTCY JUDGE


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